                                         Case 4:14-cv-03645-CW Document 100 Filed 10/29/15 Page 1 of 2




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                                   2                        UNITED STATES DISTRICT COURT

                                   3                      NORTHERN DISTRICT OF CALIFORNIA

                                   4
                                        TECHNOLOGY PROPERTIES LIMITED
                                   5    LLC and MCM PORTFOLIO LLC,            Case No.   14-cv-03640-CW

                                   6                                          ORDER OF REFERENCE TO
                                        Plaintiffs,                           MAGISTRATE JUDGE
                                   7
                                        v.
                                                                              (Docket Nos. 343, 344, 349,
                                   8
                                        CANON, INC. et al.,                   351, and 353)
                                   9
                                                Defendants.
                                  10   TECHNOLOGY PROPERTIES LIMITED
                                       LLC and MCM PORTFOLIO LLC,             Case No.   14-cv-03643-CW
                                  11
                                                                              (Docket Nos. 118, 119, 122,
                                  12              Plaintiffs,                 and 123)
Northern District of California
 United States District Court




                                  13         v.

                                  14   HEWLETT-PACKARD COMPANY,

                                  15              Defendant.
                                        TECHNOLOGY PROPERTIES LIMITED
                                  16    LLC and MCM PORTFOLIO LLC,            Case No.   14-cv-03645-CW
                                                                              (Docket Nos. 96, 97, and 99)
                                  17               Plaintiffs,
                                  18
                                             v.
                                  19
                                        NEWEGG INC. et al.,
                                  20
                                                 Defendants.
                                  21    TECHNOLOGY PROPERTIES LIMITED
                                        LLC and MCM PORTFOLIO LLC,            Case No.   14-cv-03646-CW
                                  22                                          (Docket Nos. 119, 120, 123,
                                                   Plaintiffs,                124 and 126)
                                  23
                                             v.
                                  24    SEIKO EPSON CORPORATION, et
                                        al.,
                                  25
                                                  Defendants.
                                  26
                                       ///
                                  27   ///
                                       ///
                                  28
                                         Case 4:14-cv-03645-CW Document 100 Filed 10/29/15 Page 2 of 2




                                   1        Pursuant to Local Rule 72-1, this matter is referred to
                                   2
                                       Magistrate Judge Donna M. Ryu for resolution of the following
                                   3
                                       motions: Motion for Leave to Amend Invalidity Contentions, Motion
                                   4
                                       for Leave to Amend Infringement Contentions, Motion for Leave to
                                   5
                                       Amend Exhibit 27 to Plaintiffs' Invalidity Contentions, and the
                                   6

                                   7   Administrative Motions to File Under Seal.        The hearing noticed

                                   8   for December 1, 2015, is vacated. The parties will be advised of

                                   9   the date, time and place of any appearance by notice from the
                                  10   assigned magistrate judge.
                                  11
                                       IT IS SO ORDERED.
                                  12
Northern District of California
 United States District Court




                                  13   Dated: October 29, 2015

                                  14                                       __________________________________
                                                                           CLAUDIA WILKEN
                                  15                                       United States District Judge
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